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                                                                                             Ilana Haramati
                                                                                                    Partner
                                                                                      Direct (646) 860-3130
                                                                                        Fax (212) 655-3535
                                                                                           ih@msf-law.com
                                          September 26, 2022

VIA ECF

Hon. Hector Gonzalez
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Courtroom 6A S
Brooklyn, NY 11201

               Re:     United States v. Anthony Zottola, et al., 18-cr-609 (HG)

Dear Judge Gonzalez:

       We represent defendant Anthony Zottola in the above-referenced matter. We write to respectfully
renew our motion to admit as non-hearsay, text message conversations between co-defendant Bushawn
Shelton and others, which contextualize contemporaneously coded text message conversations between
Mr. Zottola’s device and Shelton’s device admitted in Government Exhibits 1209 and 1310.

         These coded messages are government’s primary evidence against Mr. Zottola. After three weeks
of trial, where Mr. Zottola’s alleged role in the charged conduct has been only hinted at, coded cellular
telephone evidence remains the bulk of the government’s evidence as to Mr. Zottola’s relationship with
Bushawn Shelton, who the government alleges orchestrated the attacks at issue in this trial. The
government is providing the jury with its interpretation of these coded messages by admitting a hand-
picked selection of other messages that Shelton sent to alleged co-conspirators in the charged murder-for-
hire, which explicitly discuss the murder plot. The inference that the government asks the jury to draw is
that because Shelton discussed murder with others while speaking in code with Mr. Zottola’s device, those
coded Zottola-Shelton messages must relate to murder as well.

        Admitting only the government’s selection of Shelton’s contemporaneous text message
communications with his criminal confederates prevents the jury from acting as legitimate factfinders
based on the actual universe of relevant communications. The government, in effect, gets to cherry-pick
what it believes is the meaning of the coded messages between Shelton-Zottola, and keep the jury from
hearing other contemporaneous text messages that sound in other criminal conduct, such as drug dealing
and robberies. In other words, the government seeks to be the final arbiter of which of the criminal
communications the jury is permitted to review. In doing so, the government seeks a directed verdict—
and a largely unjust one at that—because the jury never gets to know that Shelton and his criminal
syndicate were conducting multiple criminal missions at the same time. The only mission that the
government seeks to introduce is the murder plot, which was not one in which Mr. Zottola knowingly
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participated. Mr. Zottola seeks to introduce evidence of Mr. Shelton’s concurrent plots of narcotics
distribution and robberies, which Mr. Zottola facilitated by giving Shelton access to stash houses and
information about tenants. Without allowing these other communications to be admitted alongside the
violence-directed communications between Shelton and his gang members, the Court is effectively cutting
off Mr. Zottola’s defense at the knees.

        For example, during Agent Zoufal’s testimony on September 22, 2022, the government cross-
referenced messages between the Shelton and Zottola devices (GX 1209) with messages between Shelton
and a device subscribed to Herman Blanco (GX 1206), and then with Shelton and a device subscribed to
Branden Peterson (GX 1311), among others. See Tr. 4527:22-4534:5. Indeed, the government has
compiled over two dozen exhibits (the GX 100-series) of text messages integrating the Zottola-Shelton
coded messages alongside Shelton’s messages with other alleged co-conspirators to prove its theory of
the coded messages. Two such government exhibits have already been introduced into evidence. See GX
100, 101. Providing the jury with just a small subset of Shelton’s criminally-aimed communications, with
only a selected few of his prolific gang members, gives the jury only one possible view of the meaning of
the Zottola-Shelton messages. The jury should be permitted to be true fact-finders and determine for
themselves what the meaning of the coded messages between Zottola and Shelton actually are. In its
current ruling, the Court is giving the jury only one side of the story. In this construct, the jury can only
read the coded messages in the context of the directives that Shelton is giving his violent crew, while
omitting the fact that Shelton is also distributing drugs with confederates like Chris, Murda, and Hondo
at the same time. Not showing this to the jury is directing them to conclude that the only communications
that Shelton is having with his gang during the time he communicated with Mr. Zottola are about attacks
on the Zottola family. This presentation of the evidence distorts and disrupts the truth.1

        Mr. Zottola’s sets of proffered text messages by Shelton’s gang are admissible for non-hearsay
purposes. First, they are admissible under Federal Rule of Evidence 106 for completeness. The
government’s introduction of a cherry-picked selection of Shelton’s gang messages contemporaneous with
the Shelton-Zottola text messages provides a false narrative of Shelton’s gang activities. The defense
should be permitted to show the jury the totality of what Shelton was directing his gang members to do at
the same time he was communicating in code with Mr. Zottola’s device. The defense’s proposed exhibits
give the jury a fuller and more accurate representation of the universe of criminal communications that
Shelton prolifically had with his confederates during the time he texted with Zottola’s phone, which “in
fairness ought to be considered at the same time” as the government’s text message exhibits. Fed. R. Evid
106. That Mr. Zottola’s proposed exhibits contain Shelton’s text messages with other individuals left out
of the government exhibits does not preclude their admission for completeness. Indeed, FRE 106
expressly contemplates admission of “any other writing or recorded statement — that in fairness ought to
be considered at the same time.” Id.; accord United States v. Shields, 783 F. Supp. 1094, 1096 (N.D. Ill.
1991) (where government designated as trial exhibits only portions of select recordings, granting
defendant’s motion under FRE 106 to play the recorded conversations in full—including some that “the

1
 Attached as Exhibits A through F are an expanded set of Mr. Zottola’s proposed exhibits, containing
examples of Shelton’s other communications contemporaneous with the text messages between Shelton’s
and Mr. Zottola’s devices, which will provide the jury with competing context to deduce the true meaning
of the Zottola-Shelton messages.
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government has not designated even in part”— to “explain or place in context those which the government
has designated” because “the excluded portion, although it may not bear directly upon the alleged
conspiracy, tends to place the designated portion of the conversation in context and amplify upon the
relationships among the defendants and Cooley . . . . For these reasons, and in the interest of affording the
defendants and the jury a complete picture of the defendants’ actions, the Court will order the tapes played
in full in the government’s case-in-chief.”). Admitting only the government’s selection of Shelton’s
messages with others will mislead the jury to believe that the messages introduced by the government are
the only ones that can elucidate the meaning of the coded Zottola-Shelton messages. To avoid leaving the
jury with that misapprehension, under FRE 106 Mr. Zottola should be permitted to introduce additional
contemporaneous text messages between Shelton and his gang as alternative context for the coded Zottola-
Shelton device communication. This is critical context for Mr. Zottola’s defense theory that the code did
not sound in murder, but rather other illegitimate business with Shelton, including drug dealing and inside
information for robberies.

         Second, Mr. Zottola’s proposed exhibits are admissible as non-hearsay under FRE 801. Because
they are being offered as interpretive context for the Zottola-Shelton messages—not for the truth of their
content in isolation—Mr. Zottola’s proposed exhibits are not hearsay. See FRE 801(c)(2) (only out of
court statements offered “to prove the truth of the matter asserted in the statement” excluded as hearsay);
United States v. Perez, No. 05-CR- 441 (PKL), 2005 WL 2709160, at *2 (S.D.N.Y. Oct. 20, 2005)
(admitting confidential informant’s recorded out-of-court statements with a third party to contextualize
the recorded statements of the defendant’s co-conspirator “the informant’s recorded statements will be
offered for the limited purpose of placing in context [co-conspirator’s] statements on the recordings. It is
established that such recorded statements are properly admitted for this purpose . . . . Therefore, because
they will not be offered to prove the truth of the matter asserted, the informant’s recorded statements
plainly are not hearsay”) (citations omitted). The exchanges included in Mr. Zottola’s proposed exhibits
reflect that while Shelton and Mr. Zottola’s device communicated in code, Shelton simultaneously carried
on other business transactions not connected to a murder-for-hire plot, and which appear to correspond to
the coded messages with Mr. Zottola. These further text messages provide competing context that does
not fit the government’s preferred interpretive theory. Introduction of Mr. Zottola’s proposed exhibits,
surrounding many coded texts between Mr. Zottola’s and Shelton’s devices, provide crucial context to
facilitate Mr. Zottola’s exculpatory interpretation of the coded messages at trial. Mr. Zottola’s defense
thus depends on introduction of these additional messages for this quintessential non-hearsay purpose.2




2
  Because the coded text messages are central to the government’s case against Mr. Zottola, his ability to
introduce co-extensive evidence contrary to the government’s theory is necessary to permit him to mount
a complete defense, necessitating their introduction here. See, e.g., Holmes v. South Carolina, 547 U.S.
319, 324 (2006) (“Whether rooted directly in the Due Process Clause of the Fourteenth Amendment or in
the Compulsory Process or Confrontation Clauses of the Sixth Amendment, the Constitution guarantees
criminal defendants a meaningful opportunity to present a complete defense.”) (quoting Crane v.
Kentucky, 476 U.S. 683, 690 (1986)); United States v. Gilmore, No. 19 CR. 724 (JGK), 2021 WL 4151009,
at *2 (S.D.N.Y. Sept. 13, 2021) (“when it comes to the presentation of exculpatory evidence by a criminal
defendant, the Constitution requires the admission of certain evidence.”) (emphasis added).
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       Accordingly, the Court should permit Mr. Zottola to admit Mr. Zottola’s proffered exhibits,
including conversations between co-defendant Bushawn Shelton and other gang members, which
contextualize contemporaneous coded text message conversations between Mr. Zottola’s device and
Shelton’s device.

                                         Respectfully submitted,


                                                 /s/ IH
                                         Henry E. Mazurek
                                         Ilana Haramati

                                         Counsel for Defendant Anthony Zottola


cc:     Counsel of record (via ECF)
